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                                                                                              United States District Court
                               UNITED STATES DISTRICT COURT                                     Southern District of Texas
                                SOUTHERN DISTRICT OF TEXAS                                         ENTERED
                                    HOUSTON DIVISION
                                                                                                   May 04, 2020
                                Civil Action Number: 4:20−cv−01552                              David J. Bradley, Clerk


                                 ORDER FOR CONFERENCE
                                           AND
                            DISCLOSURE OF INTERESTED PARTIES

                                       Judge Keith P. Ellison
                              515 Rusk Avenue, Courtroom 3A Houston
                                        Houston, TX 77002
                                   on July 17, 2020 at 10:15 AM

COURT PROCEDURES AND ATTACHMENTS, WHICH ARE APPLICABLE TO CASES ASSIGNED TO JUDGE
KEITH P. ELLISON CAN BE OBTAINED ON THE DISTRICT WEBSITE AT www.txs.uscourts.gov

1.    If Plaintiff would like a scheduling conference earlier than the date and time noted above, once
      the Answer has been filed by Defendant(s), please contact Arturo Rivera, Case Manager to Judge
      Ellison at (713) 250−5181 or email to Arturo_Rivera@txs.uscourts.gov to schedule an earlier
      initial pretrial and scheduling conference.

2.    Counsel shall file with the clerk within fifteen days from receipt of this order, a certificate listing
      all person, associations of person, firms, partnerships, corporations, affiliates, parent corporations,
      or other entities that are financially interested in the outcome of this litigation. If a group can be
      specified by a general description, individual listing is not necessary. Underline the name of each
      corporation whose securities are publicly traded. If new parties are added or if additional persons
      or entities that are financially interested in the outcome of the litigation are identified at any time
      during the pendency of this litigation, then each counsel shall promptly file an amended
      certificate with the clerk.

3.    Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 90 days after the filing of the
      complaint. The failure of plaintiff(s) to file proof of service within 90 days after the filing of the
      complaint may result in dismissal of this action by court on its own initiative.

4.    After the parties confer as required by Fed. R. Civ. P. 26(f), counsel shall prepare and file not less
      than 10 days before the conference a joint discovery/case management plan containing the
      information required on the attached form.

5.    All counsel shall prepare, fill in dates and bring the Scheduling/Docket Control Order to the
      initial pretrial and scheduling conference. The Court will enter the pretrial order due date and
      trial date on the scheduling order and may rule on any pending motions at the conference.
      Counsel may obtain this Court's form of Scheduling/Docket Control Order from the district
      website.

6.    Counsel who file or remove an action must serve a copy of this order with the summons and
      complaint or with the notice of removal.

7.    Attendance by an attorney who has authority to bind the party is required at the conference either
      in person or by telephone. Please inform the Court if you wish to participate by telephone.

8.    Counsel shall discuss with their clients and each other whether alternative dispute resolution is
      appropriate and at the conference shall advise the court of the results of their discussions.

9.    A person litigating pro se is bound by the requirements imposed upon counsel in this Order.

10.   Failure to comply with this order may result in sanctions, including dismissal of the action and
      assessment of fees and costs.
                                                                              By Order of the Court
